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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0061-JAM
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         STATUS CONFERENCE
13                          v.
                                                         Date: May 15, 2018
14   ANDRE RAMON WASHINGTON,                             Time: 9:15 a.m.
     ROLAND ADRIAN JUFIAR, and                           Judge: Hon. John A. Mendez
15   DAVID GARCIA ROMERO,
16                                Defendants.
17

18          Plaintiff United States of America, through its respective counsel, and defendants Andre Ramon

19 Washington, Roland Adrian Jufiar, and David Garcia Romero, through their counsel of record, stipulate

20 that the status conference now set for May 15, 2018, be continued to June 26, 2018, at 9:15 a.m.

21          On March 29, 2018, all three defendants were arraigned on the ten-count Indictment in this case.

22 (ECF Nos. 16, 19.) Recently, the government had produced to the defense discovery that includes over

23 530 pages of reports and memoranda, roughly 565 photos, among other items. Defense counsel for all

24 three defendants require additional time to review these materials, to discuss them with their clients, to

25 conduct research into any potential suppression issues or motions to dismiss, to conduct additional

26 investigation, and to otherwise prepare for trial.

27          Based on the foregoing, the parties stipulate that the status conference currently set for May 15,

28 2018, be continued to June 26, 2018, at 9:15 a.m. The parties further agree that time under the Speedy

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
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 1 Trial Act should be excluded from the date the parties stipulated, up to and including June 26, 2018,

 2 under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local

 3 Code T4, based on continuity of counsel and defense preparation.

 4          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 5 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 The parties also agree that the ends of justice served by the Court granting the requested continuance

 7 outweigh the best interests of the public and the defendants in a speedy trial.

 8                                                       Respectfully submitted,

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10 Dated: May 10, 2018                                   _/s/ Timothy H. Delgado____________
                                                         TIMOTHY H. DELGADO
11                                                       Assistant United States Attorney
                                                         Attorney for Plaintiff United States
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13 Dated: May 10, 2018                                   _/s/ THD for David W. Dratman_____
                                                         DAVID W. DRATMAN
14                                                       Attorney for Defendant Andre Washington
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     Dated: May 10, 2018                                 _/s/ THD for Megan Virga__________
16                                                       MEGAN VIRGA
                                                         Attorney for Defendant Roland Jufiar
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18 Dated: May 10, 2018                                   _/s/ THD for Ronald J. Peters________
                                                         RONALD J. PETERS
19                                                       Attorney for Defendant David Romero
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
      STATUS CONFERENCE
               Case 2:18-cr-00061-JAM Document 21 Filed 05/11/18 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including June 26,

 9 2018, shall be excluded from computation of time within which the trial in this case must be commenced

10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to

11 prepare] and General Order 479 (Local Code T4). It is further ordered that the May 15, 2018 status

12 conference be continued until June 26, 2018, at 9:15 a.m.

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14 Dated: May 11, 2018                                     /s/ John A. Mendez_____________
                                                           Hon. John A. Mendez
15                                                         United States District Court Judge
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
      STATUS CONFERENCE
